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                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE WESTERN DISTRICT OF TEXAS

                                 MIDLAND-ODESSA DIVISION

XIQIU (“BOB”) FU, an individual,                                 7:20-cv-00257
                                                      Case No.: _________
                    Plaintiff,
       v.                                             ORIGINAL COMPLAINT FOR TORT
                                                      DAMAGES AND INJUNCTIVE RELIEF

GUO WENGUI (a/k/a MILES KWOK, a/k/a                   JURY TRIAL DEMANDED
WENGUI GUO, a/k/a MILES GUO, a/k/a HO
WAN KWOK), an individual; GTV MEDIA                       (1) STALKING
GROUP, INC., a Delaware corporation,                      (2) DEFAMATION PER SE
SARACA MEDIA GROUP, INC., a Delaware                      (3) INVASION OF PRIVACY
corporation, and VOICE OF GUO MEDIA,                      (4) ASSAULT
INC., a Delaware corporation; and LIHONG                  (5) PRIVATE NUISANCE
WEI LAFRENZ (a/k/a SARA WEI) and                          (6) CONSPIRACY
DONGNA FANG, individuals,
                  Defendants.



       Plaintiff XIQIU “BOB” FU (Pastor Fu) (or Dr. Fu), by and through his undersigned

attorneys, complains and alleges the following:

                                       INTRODUCTION

       1.      The People’s Republic of China (PRC) commits systematic, ongoing, and

egregious violations of fundamental human rights, including religious freedom.            Although

officially purporting to support religious liberty, the ruling Chinese Communist Party (CCP)

allows only certain highly limited activity by faith communities. Chinese adults are permitted to

attend worship services only at state-approved – so-called “patriotic” – churches, which are closely

monitored and controlled.

       2.      The CCP is violently hostile to various religious communities. Its treatment of the

Uighur Muslim population has spawned widespread international outrage and condemnation.

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Currently, an estimated one million, if not more, Uighur Muslims are being detained in so-called

“re-education camps.” These camps employ political brainwashing sessions in an effort to strip

devout Muslims of their identities – including their religion and ethnicity – to be replaced with

absolute loyalty to the CCP. Former Uighur Muslim detainees have described brutally oppressive

conditions, including solitary confinement, forced labor, and starvation diets.

       3.      Other groups have likewise faced harsh persecution. Despite Buddhism’s status as

an officially approved religion, Tibetan Buddhists — an ethnic minority — have endured

harrowing religious persecution. The CCP has outlawed traditional Tibetan Buddhist religious

items and threatened action against Buddhist temples that fail to comply. CCP officials have

explicitly warned that Tibetan Buddhists may be arrested under the regime’s purported “anti-

organized crime” program. In addition, thousands of members of Falun Gong, a quasi-religious

movement with millions of adherents, have been harassed, arrested and imprisoned. The CCP

maintains a security apparatus to stunt the Falun Gong movement. There have been published

allegations and reports of Falun Gong practitioners confined to concentration camps, similar to the

inhumane treatment of Uighur Muslims.

       4.      This barbaric treatment of religious and ethnic groups has been severely criticized

by the international community, including the United States. On October 6, 2020, nearly 40

countries denounced China’s human rights policies, including its maltreatment of various minority

groups. Specifically noting the CCP’s intrusive surveillance techniques and its harsh treatment of

various minority groups, including the Uighur Muslims, the 40 nations condemned China’s severe

restrictions on religious liberty and called on China to allow independent observers access to

Xinjiang, the historic home of Uighur Muslims. President Trump, Vice President Pence, Secretary

of State Mike Pompeo, Ambassador Terry Branstad, and other U.S. embassy and consulate



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officials have repeatedly and publicly expressed concerns about the CCP’s human rights abuses.

In the past, the United States, together with other nations, has issued condemnatory statements,

similar to the October 6, 2020 pronouncement, calling on China to cease and desist from its

crackdown on faith communities.

       5.      The U.S. Department of State publishes an annual report on international religious

freedom, in which China has been repeatedly criticized for its harsh treatment of religious

communities. In its 2020 report, the State Department echoes many of the concerns already

identified, including detainment of Uighur Muslims; persecution and torture of other faith

communities; and China’s religious registration policy; all of which has been followed by sharp

criticism from U.S. government leaders. The State Department’s most recent report lists numerous

examples of China’s religious persecution carried out through both official laws and governmental

practices. The report further notes that every year since 1999, China has been designated as a

“Country of Particular Concern” (CPC) – a category under the International Religious Freedom

Act of 1998. CPC serves as an identifier of countries that have engaged in or allowed grievous

violations of religious liberty. So too, the U.S. Commission on International Religious Freedom

(USCIRF) has recommended that the State Department redesignate China as a CPC in 2021.

       6.      China’s unrelenting opposition to Christianity drives many indigenous churches to

worship underground in “house churches.” If discovered, these churches are often strictly

monitored and, in many instances, forced to close. Underground church leaders and members are

often subject to surveillance, harassment, and imprisonment. The recent asylum case of Ting Xue

v. Sessions, 138 S. Ct. 420 (2017), presented uncontested allegations demonstrating the cruelty of

China’s anti-Christianity regime, including its oppression of the “house church” movement.




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       7.        Despite the grave threats that Chinese Christians face, many boldly stand up to the

CCP. Plaintiff, Xiqiu (Bob) Fu, a refugee to America from China, is one of those courageous

Christians. For years, he has stood as a bold champion of the underground church and, more

generally, as an outspoken defender of religious and political liberty for all, regardless of their

faith journey.

       8.        Pastor Fu first displayed his courage and love of freedom as a student leader in the

1989 Tiananmen Square demonstrations. In May 1989, thousands of unarmed Chinese students

and workers gathered at Beijing’s Tiananmen Square to protest peacefully in favor of democracy

and improved conditions for China’s working class. On June 4, 1989, China’s communist regime

declared the protestors to be “counterrevolutionaries” and ordered the Chinese military to remove

them from Tiananmen Square by force, and to execute or arrest those who refused. The military

violently removed the unarmed protestors, killing thousands in the process by firing on them with

assault rifles and running them over with armored vehicles.

       9.        Because Pastor Fu organized the participation of his classmates at Tiananmen

Square, the CCP declared him leader of an illegal organization. He was subject to months-long

forced confession, surveillance, and intimidation tactics by CCP officers. Even after bearing

witness to the brutality against Tiananmen Square protestors and experiencing the CCP’s revenge

against him, Pastor Fu continued to hold true to and espouse his pro-democracy beliefs.

       10.       In the months following the Tiananmen Square massacre, Pastor Fu converted to

Christianity. He taught English during the day while leading a Beijing house church at night. After

years of faithfully adhering to his Christian beliefs, Pastor Fu’s peaceful actions—often labelled

by the CCP as “state subversion”—were discovered by authorities. As a result, Pastor Fu and his

wife, Heidi Fu, were imprisoned in Beijing for two months.



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         11.   Along with Heidi and their then-infant son Daniel, Pastor Fu applied for refugee

status in the United States and was recognized as an overseas religious refugee fleeing the CCP’s

oppressive regime. On June 27, 1997, Pastor Fu and his family escaped – through Hong Kong –

to the United States, where their refugee status gained them immediate recognition as lawful

permanent residents. Pastor Fu, his wife Heidi, and their son Daniel all became naturalized U.S.

citizens in 2003. In his adopted country, Pastor Fu formally trained for Christian ministry at

Westminster Theological Seminary in Glenside, Pennsylvania. In 2002 he founded ChinaAid, a

nonprofit organization dedicated to promoting international religious freedom. Pastor Fu went on

to earn his Ph.D. from St. John’s College, Durham University in the United Kingdom and has been

awarded an honorary doctorate in global Christian leadership from Midwest University in St.

Louis.

         12.   For the past eighteen years, Dr. Fu has served in Christian ministry and become an

internationally recognized spokesperson decrying the CCP’s freedom-denying policies and

practices. By shining the light on human rights abuses in China, and providing spiritual and legal

training to Chinese church leaders, Dr. Fu and his organization based in Midland, Texas have been

highly effective in promoting the values of religious liberty and human rights.

         13.   Dr. Fu currently serves as Editor-in-Chief of the Chinese Law and Religion

Monitor, a journal focusing on religious freedom and the rule of law in China, and is a guest editor

for Chinese Law and Government, a journal published by UCLA. Dr. Fu’s work has earned him

numerous distinctions, including the 2020 William Wilberforce Award from The Colson Center

and the 2007 John Leland Religious Liberty Award from the Southern Baptist Ethics & Religious

Liberty Commission. Dr. Fu currently serves as a senior fellow on international religious freedom

at the Family Research Council; as Adjunct Senior Fellow at the Institute on Religion and



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Democracy in Washington, D.C.; and is a member of the Task Force on National Security and

Foreign Policy for Asian Affairs at the Heritage Foundation.

       14.     In carrying out ChinaAid’s mission, Dr. Fu has testified numerous times before

various governmental bodies, including the Tom Lantos Human Rights Commission, the House

Foreign Affairs Committee, the Senate Judiciary Committee, the U.S. Commission on

International Religious Freedom (USCIRF), and the Congressional-Executive Commission on

China (CECC), as well as the United Nations Commission on Human Rights and the Parliaments

of the United Kingdom, the Netherlands, the European Union, and Taiwan. He also serves as a

member of the Council on Foreign Relations.

       15.     Despite his decades-long dedication to human rights, democracy, and religious

liberty, Dr. Fu has recently come under malicious attack by Defendant Guo Wengui (Guo).

Utilizing various media platforms, including those owned or operated by Defendant GTV Media

Group, Inc., Defendant Saraca Media Group, Inc., and Defendant Voice of Guo Media, Inc., Guo

has maliciously issued numerous false, defamatory, and threatening statements against Pastor Fu

and his family. In recent weeks, these utterly unfounded and defamatory provocations have

steadily grown worse in their vehemency.

       16.     After repeatedly and maliciously defaming Dr. Fu and ChinaAid on social media,

including platforms owned or operated by Defendant GTV Media Group, Inc., Defendant Saraca

Media Group, Inc., and Defendant Voice of Guo Media, Inc., Guo is now openly calling for his

hundreds of thousands of followers to “kill” Dr. Fu. As of September 24, 2020, Guo is offering

tens of thousands of dollars in cash and securities for anyone who succeeds in “getting rid of” Dr.

Fu.   As a result of Defendant Guo’s utterly false, maliciously defamatory, and physically

threatening attacks, Dr. Fu and his family are no longer able to live in their home. Among other



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individuals, Defendants Sara Wei and Dongna Fang have actively participated in Guo’s campaign

of defamation and character assassination against Pastor Fu, including inciting protests outside Dr.

Fu’s family home in Midland, Texas. At the advice of local and federal law enforcement, the Fu

family has been evacuated from their home, separated, and are living in four distinct locations.

They continue day after day reasonably to fear for their physical safety.

                                            PARTIES

        17.    Plaintiff XIQIU (BOB) FU is a naturalized American citizen residing in Midland,

Texas. In 1997, Pastor Fu and his wife fled to the United States as religious refugees. In 2002,

Pastor Fu founded ChinaAid, a nonprofit Christian ministry and persecution watchdog. Consistent

with Christian teaching, Pastor Fu’s organization is engaged in promoting human rights in China

and around the globe. To that end, Dr. Fu frequently speaks out against the CCP’s oppressive

policies.

        18.    Defendant GUO WENGUI, a/k/a MILES KWOK, GUO HAOYUN, MILES GUO,

and HO WAN KWOK (hereinafter, “Guo”), is an individual residing in New York, New York

County, New York. He may be served with summons at 781 Fifth Avenue, 18th Floor, New York,

NY 10022. On information and belief, Guo is a Chinese national and billionaire owner of Beijing

Zenith Holdings. On information and belief, Guo is an economic fugitive of China who fled to

the United States in 2014 after being accused by Chinese authorities of money laundering, fraud,

rape, and other serious crimes. On information and belief, FBI counterintelligence agents have

been investigating Guo’s business dealings in the United States since at least July of 2020.

        19.    Defendant Guo made international news recently as the owner of the $35 million

yacht “Lady May,” on which the FBI conducted an early morning raid on August 20, 2020 and

arrested well-known political strategist Stephen K. Bannon. Earlier in June 2020, together with


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Steve Bannon, Guo announced the creation of the “New Federal State of China,” a self-proclaimed

pro-democracy movement that is purportedly intended to replace CCP rule.

       20.     Although holding himself out as an anti-CCP activist, Defendant Guo has been

accused by dozens of individuals in the Chinese American community as maintaining a close

relationship with the Chinese Ministry of State Security (MSS) and, after entering the United

States, having pledged allegiance to Xi Jinping’s regime (See Addendum A). On August 26, 2017,

Guo appeared in a television interview on Mirror TV, a Chinese language news organization based

in New York. In the interview, Guo pledged “to serve under President Xi” and “to contribute to

President Xi’s China dream.”

       21.     Although claiming to support the Chinese pro-democracy movement, Guo employs

his vast legal, financial, and corporate resources, together with his robust social media presence,

to systematically target pro-democracy and pro-religion activists in the Chinese American

community. Since 2018, Guo has attacked Chinese human rights activists and bona fide CCP

dissidents in the United States with aggressive lawsuits – including actions for defamation – and

disparaging comments posted online.

       22.     This year, Plaintiff Bob Fu became Guo’s latest target. Beginning on or before

September 24, 2020, Guo has orchestrated a multi-faceted campaign of character assassination,

including malicious statements distributed online and in Midland, Texas, aimed at intimidating Dr.

Fu and sullying his reputation. Recently, Guo’s vicious defamation campaign has extended to

include organized protests immediately outside Pastor Fu’s home in Midland, Texas. Utilizing his

vast presence on social media and the internet, including platforms owned or operated by

Defendant GTV Media Group, Inc., Defendant Saraca Media Group, Inc., and Defendant Voice

of Guo Media, Inc., Guo has issued statements calling for and encouraging continuing protests at



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the Fu family residence. Guo has also publicly called for actual violence – including threats of

death – against Pastor Fu. Guo’s reckless behavior and the severity of his threats prompted this

lawsuit.

         23.   Defendant GTV MEDIA GROUP, INC. is a for-profit corporation and a citizen of

Delaware with its principal place of business in New York, New York. Defendant GTV MEDIA

GROUP, INC. can be served through its registered agent at Corporate Creations Network, Inc.,

3411 Silverside Road, Tatnall Building, Suite 104, Wilmington, New Hanover County, DE 19810.

         24.   Defendant SARACA MEDIA GROUP, INC. is for-profit corporation and a citizen

of Delaware with its principal place of business in New York, New York. Defendant SARACA

MEDIA GROUP, INC., can be served through its registered agent at Corporate Creations Network,

Inc., 3411 Silverside Road, Tatnall Building, Suite 104, Wilmington, New Hanover County, DE

19810.

         25.   Defendant VOICE OF GUO MEDIA, INC. is a for-profit corporation and a citizen

of Delaware with its principal place of business in Tucson, Arizona. Defendant VOICE OF GUO

MEDIA, INC., can be served through its registered agent, Elaine Lam, 1850 W. Orange Grove

Rd., Tucson, Pima County, AZ 85704.

         26.   Defendant LIHONG WEI LAFRENZ (a/k/a SARA WEI) is an individual residing

in Tucson, Pima County, Arizona. She may be served with summons at 1850 W Orange Grove

Rd., Tucson, Pima County, AZ 85704. On information and belief, Defendant Wei is President and

Director of Voice of Guo Media, Inc. On information and belief, Defendant Wei is an individual

agent of Defendant Guo who has actively participated in Guo’s campaign to defame, harass, and

commit illegal acts against Dr. Fu.




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          27.   Defendant DONGNA FANG is an individual residing in San Francisco, San

Francisco County, CA. She may be served with summons at 21 Maynard St., San Francisco, CA

94112-1505. On information and belief, Defendant Fang is an individual agent of Defendant Guo

who has actively participated in Guo’s campaign to defame, harass, and commit illegal acts against

Dr. Fu.

                                  JURISDICTION AND VENUE

          28.   This Court has jurisdiction pursuant to 28 U.S.C. § 1332. This is a civil action for

stalking, defamation, invasion of privacy, assault, private nuisance, and civil conspiracy. The

parties are diverse in citizenship.

          29.   Plaintiff XIQIU (BOB) FU is a United States citizen who resides in Midland, Texas.

The Court has plenary jurisdiction over state-law claims and causes of action asserted by Dr. Fu.

          30.   Plaintiff XIQIU (BOB) FU seeks damages in excess of $75,000, thus meeting the

requirements of 28 U.S.C. § 1332(a).

          31.   Defendant GUO WENGUI is a Chinese citizen and resident of the State of New

York and is therefore diverse in citizenship to Dr. Fu. See 28 U.S.C. § 1332(a)(1).

          32.   Defendant GTV MEDIA GROUP, INC. is a Delaware for-profit corporation with

its principal place of business in New York, New York. See 28 U.S.C. § 1332(a)(1), (c);

          33.   Defendant SARACA MEDIA GROUP, INC. is a Delaware for-profit corporation

with its principal place of business in New York, New York. See 28 U.S.C. § 1332(a)(1), (c);

          34.   Defendant VOICE OF GUO MEDIA, INC. is a Delaware for-profit corporation

with its principal place of business in Tucson, Arizona. See 28 U.S.C. § 1332(a)(1), (c);

          35.   Defendant DONGNA FANG is a resident of San Francisco, California, and is

therefore diverse in citizenship to Dr. Fu. See 28 U.S.C. § 1332(a)(1).


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       36.     Defendant LIHONG WEI LAFRENZ (a/k/a SARA WEI) is a resident of Tucson,

Arizona, and is therefore diverse in citizenship to Dr. Fu. See 28 U.S.C. § 1332(a)(1).

       37.     This Court may exercise personal jurisdiction over each named Defendant under

Texas’ long-arm statute, which is coextensive with federal constitutional due process limits. See

Tex. Civ. Prac. & Rem. Code § 17.042(2).

       38.     Venue is proper in the Western District of Texas, Midland-Odessa Division. Dr.

Fu is a citizen of the United States who resides within the District. See 28 U.S.C. § 1391(c)(1).

Further, a substantial part of the events giving rise to Dr. Fu’s claim occurred and were directed

by the Defendant to occur in Midland, Texas. See 28 U.S.C. § 1391(b)(2).

                                   STATEMENT OF FACTS

       39.     Guo Wengui enjoys an enormous following across his social media accounts,

websites, and broadcast services. To carry out his campaign of defamation and vilification against

Pastor Fu and other innocent Chinese Americans, Guo has employed the assets and resources of

Defendant GTV Media Group, Inc., Defendant Saraca Media Group, Inc., and Defendant Voice

of Guo Media, Inc.

       40.     In addition to his corporate assets and resources, Guo aggressively utilizes various

social media platforms. Guo’s Chinese-language Twitter account has over 30,000 followers.

Guo’s English-language Twitter account has over 20,000 followers. Guo’s YouTube account

boasts over 400,000 subscribers.     Videos posted on Guo’s YouTube account often receive

viewership in the hundreds of thousands – sometimes millions.

       41.     Guo’s live broadcasting service “GTV” is delivered via streaming websites such as

GTV.org, YouTube, Vimeo, Periscope, and often enjoys a viewership in the hundreds of thousands

– sometimes millions. Articles posted on Guo’s website, GNews.org, are often viewed by tens of

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thousands of people who access the site directly. Articles on GNews.org have also been reposted

on various websites such as The Drudge Report, which enjoys daily viewership in the millions of

people. Taken together, Guo’s vast presence on social media and across the internet gives him the

capacity to reach millions of people in the Chinese American community and around the world.

          42.   Guo mounted his public attacks against Pastor Fu in late September 2020 through

a series of videos posted on GTV.org, GNews.org, Twitter, and YouTube. These videos expressly

called for action against Pastor Fu. In the first video posted on September 24, 2020 (Video 1),

Guo threatened Dr. Fu with protests only. However, in the second video, posted on September 25,

2020 (Video 2), Guo issued his first appeal for his followers to “kill” Bob Fu as part of a larger,

international “Kill Cheaters Campaign.” In Video 2, Guo speaks directly into the camera and

falsely accuses Dr. Fu of being a CCP agent, as well as a “threat to all human beings.” Referencing

a group of individual targets associated with his “Kill Cheaters” initiative, Guo states: “We use

our money, time, and courage to deal with them. How can we kill CCP if we cannot kill them

first?” Guo further offers to fund the activities of his followers for “however long the campaign

lasts.”

Screenshot from Video 2 – September 25, 2020:




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       43.     On or around September 25, 2020, Guo released a memorandum to his followers

providing additional written information about his “Kill Cheaters” initiative. In translation, the

memorandum is entitled Standards of Action and Headquarters Support for Global “Kill

Cheaters” Campaign. The memorandum offers monetary compensation of up to $10,000 for

followers who participate on a “kill cheaters team.” Detailed instructions are provided, including

instructions to organize teams of at least fifty people into “strategic levels” consisting of a fifteen-

member “advance troop.” The memorandum suggests that should a campaign conform to these

written standards, support in the form of pre-paid expenses and supplies would be provided to

participants by Guo’s organization – the “Federation of New China.”

         44.   The following day, on September 26, 2020, five of Guo’s followers appeared

outside Dr. Fu’s residence in Midland, Texas. From the sidewalk, Guo’s followers shouted

profanities at Dr. Fu’s house and echoed Guo’s false allegations that Pastor Fu is a disguised CCP

spy. At the time, Dr. Fu was in Washington, D.C. participating in the 2020 Prayer March on the

National Mall. His wife and children were home alone. Dr. Fu’s family became aware of Guo’s

threats and feared for their safety.      They promptly contacted local law enforcement.             At

approximately 10:00 AM, the Midland Police Department responded to the presence of protestors

in connection with Guo’s threats. Uniformed and civilian-clothed police officers flooded the area

around Dr. Fu’s residence. The FBI dispatched a surveillance team to monitor Dr. Fu’s residence

on a 24-hour basis.

         45.   Guo was undeterred by the presence of local law enforcement and federal agents.

To the contrary, on the following day, September 27, 2020, Guo posted another video on social

media (Video 3), employing a now-familiar format – wearing sunglasses and speaking directly

into the camera. In the video, Guo states in full:



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               Xiqiu Fu, Bob Fu, stop bluffing! What can you do with the two-dozen
               people you called in last time? You are nothing in front of us. We
               will send at least 100 to 200 comrades to your house tomorrow. We
               will see how much power you have in the U.S. You sound like more
               powerful than President Trump. That’s so scary. We must check it
               out. Once our comrades get to your house tomorrow, we will never
               retreat. We will not start another campaign until we are done with
               you.

Screenshot from Video 3 – September 27, 2020:




The same day, Guo posted another video (Video 4) on social media naming “Xiqiu Fu (Bob Fu)”

in a list of individuals identified as targets in his “Kill Cheaters” campaign.

Screenshot from Video 4 – September 27, 2020:




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In yet another video broadcast on September 27, 2020 (Video 5), Guo urges his followers to target

the individuals named on his list, insisting, “If you didn’t participate in the global kill cheaters

campaign, there’s something wrong with you. You need to take actions. None of those cheaters

should be missed. We need to see the result.”

Screenshot from Video 5 – September 27, 2020:




       46.     Guo’s commands – and monetary incentives – prompted his followers to act. By

way of example, one of Guo’s followers, Wengeng Wang (Wang), promptly traveled to the

California residence of an individual named on Guo’s hit list, Jianmin Wu. On September 27,

2020, Wang staked out in Mr. Wu’s driveway and began shouting challenges at Mr. Wu to “hurry

up and kill me” so that Wang could become a “hero for our New Federal State of China.” Wang

also echoed Guo’s threats to “kill” Dr. Fu. Wang filmed the incident and the video was later

published online by Guo’s various media outlets (Video 6). In full, the recordings show Wang

shouting the following, in translation:


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              Come honor my wish to be a hero! I want to be a hero for our New
              Federal State of China! Hurry up and kill me so that my comrades
              can build me a monument and donate money to take care of my
              family! [Laughing] Just kidding. Scumbag Jianmin! And that Bob
              Fu! Bob Fu, didn’t you fucking say you have a gun? Wait for me to
              kill Jianmin Wu first and you’ll be the next … You dirtbags milk the
              First Amendment in U.S. for your freedom of speech… I am not
              afraid of death, let alone your thugs… Hongkuan Li, Bob Fu, Shi
              Wei and Xianmin Xiong, I will go [sic] your houses one after
              another. Get your guns ready and have your bullets loaded. You’d
              better shoot me or you just wait and see.

Screenshot from Video 6 – Guo’s Follower Mr. Wang Wengeng Stakes Out the California

Residence of Guo’s Target Mr. Jianmin Wu – September 27, 2020:




       47.    Authorities were made aware of Guo’s continued threats, now including those

against local and federal law enforcement authorities. The following day, September 28, 2020,

surveillance by local and federal authorities continued at Dr. Fu’s residence. To ensure their

physical safety, Dr. Fu’s wife and children were transferred to a safe house. At 8:00 AM, the

Midland Police Bomb Squad was put on emergency standby. At 11:00 AM, a security detail was

formed to meet Dr. Fu at Midland International Airport upon his arrival from Washington, D.C.

Meanwhile, Guo posted another video (Video 7) threatening Dr. Fu, marking the third consecutive



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day of threats. In Video 7, Guo offers payment to his followers in the form of securities if they

“converge to Midland Texas to find Bob Fu and kill him.” Translated, Guo states in full:

               I’m appealing again to all the comrades and Sara, Biao Lin, Texas
               cowboy… Connect and converge to Midland Texas to find Bob Fu
               and kill him. This is the time to test your loyalty and ability. I will
               reward you with stocks according to your action. All the cheaters’
               evil deeds must be fully checked and documented. Cheater Doudou
               is even using a fake name. Whether you are a true comrade or not,
               we will figure it out from your action.

       48.     On September 28, 2020, Dr. Fu traveled to the United States Department of State

in Washington, D.C. He was briefed on Guo’s threats by U.S. Government officials including Dr.

Miles Yu, an advisor to U.S. Secretary of State Mike Pompeo for East Asian affairs.

       49.     On September 29, 2020, an article was posted on GNews.org, re-publishing a live

broadcast by Guo originally transmitted on September 27 (Video 8). In the broadcast, Guo

proceeds to repeat the list of individuals identified as targets in his “Kill Cheaters” campaign,

including Dr. Fu. “They deserve to die,” Guo proclaims, “the revolution exposed all these bastards.

They are bluffing.” The video features Guo’s own English subtitles, which capture Guo’s threats

against Dr. Fu, as well as false accusations that Dr. Fu is a CCP agent who has orchestrated

fraudulent asylum claims and laundered millions of dollars through dumpling houses owned by

Chinese dissident and U.S. citizen Sasha Gong. Guo states in full:

               My fellow fighters, let’s get rid of all of the fake democracy activists
               first. No rush, let’s get rid of them first. … We must let America and
               the West see the true color of these people. Bob Fu, stop bluffing.
               All your pathetic bluffing tricks. What are you going to do with those
               20 people of yours? Stop lying around. A pastor from the CCP’s
               Party School. All your pathetic connections in Texas mean nothing
               to us at all. You’ve been repeatedly deceiving the American people.
               But our Whistleblowers’ Movement will unveil your true color. How
               did you come to America as a CCP member? How many false
               political asylum cases have you arranged? Where have that several
               million dollars gone every year? Where did that several million
               come from? Let alone several millions of dollars, even several


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              hundreds of thousands or several tens of thousands, would be
              enough for him to spend the rest of his life in prison. Do you believe
              it when Bob Fu said his money was all clean? Bob Fu, you just wait
              and see. In the coming 2, 3 weeks, let’s see what tricks you have. All
              these evil tricks of yours. You’ve fooled so many people acting as
              the representative of the Chinese Christianity and Catholic. Who
              gave you the authority to do so, Bob Fu? Who asked you to be their
              representative? How did you come to America? Where did your
              money go? Sasha Gong, an American citizen, owns several
              dumpling houses. Where did all the money go?

Screenshot from Video 8 – Published on GNews.org on September 29, 2020; originally

transmitted on September 27, 2020:




       50.    On October 4, 2020, Guo’s followers went door-to-door in Midland neighborhoods

and churches and distributed flyers smearing and defaming Pastor Fu and falsely painting him as

a CCP spy. Among other things, the flyers maliciously stated: “Bob Fu: Fake Priest and a CCP

Spy.” In one instance, a group of four Chinese men arrived in a pick-up truck at Northwestern

Baptist Church at 3901 Mockingbird Ln., Midland, Texas. One of the men exited the truck,

dropped off one or more defamatory flyers at the church’s main office, then promptly returned to

the truck and drove away. That same day, one of the congregation members at Northwestern

Baptist informed Dr. Fu about the defamatory flyers.

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       51.     On October 5, 2020, a group of approximately 50 protestors arrived on a charter

bus near Pastor Fu’s residence. At or around 7:30 AM, approximately 20 protestors gathered on

the sidewalk immediately in front of Dr. Fu’s home. The protestors repeated Guo’s false

allegations that Dr. Fu is a CCP spy. Protestors held duplicate signs that read “Bob Fu is a CCP

Spy,” “Bob Fu: His Money From CCP & Work for CCP,” and “Bob Fu: Fake Priest and CCP

Spy.” The protestors occasionally chanted in Mandarin and recorded videos on their phones. One

protestor was arrested by Midland Police for trespassing on Pastor Fu’s property. When asked

who organized the protest and provided the bus, protestors falsely claimed that they arrived

separately and that they were not part of an organization.

Dr. Fu’s Residence – Morning of October 5, 2020:




That morning, Dr. Fu was delivering an address to a virtual conference of the United Nations

Human Rights Council (UNHRC), in which he discussed the CCP’s violations of the International

Covenants on Human Rights with respect to children’s rights to religious freedom. At the time,

his wife and children were home alone. By late morning, the number of protestors on the sidewalk

had swelled to approximately 50 individuals. At or around noon, law enforcement officers

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informed Dr. Fu of a credible threat on his and his family’s safety. At the direction of law

enforcement, Dr. Fu’s family were evacuated to a safe house. His youngest daughter, Melissa,

was removed from school.

       52.      At 3:00 PM on October 5, 2020, Midland Mayor Patrick Payton conducted a press

conference to address the unrest caused by protesters outside the Fu family residence. Mayor

Payton dismissed as unfounded the protestors’ claims that Dr. Fu is a CCP spy or agent. To

demonstrate the point, Mayor Payton called on the CCP to release Chinese prisoners of conscience

– in China – on behalf of Dr. Fu. Of course, those requests were not fulfilled because Dr. Fu has

no affiliation with or influence over the CCP. Nor has Dr. Fu ever been a member of the CCP.

To the contrary, Dr. Fu fled communist oppression after being arrested by CCP officials for

“illegal evangelism.” In his role at ChinaAid and as a contributor to numerous pro-democracy

and pro-human rights publications, Dr. Fu is well-known as a champion of the underground

church and as an outspoken opponent of the CCP’s oppressive policies and practices. Mayor

Payton communicated his – and the Midland community’s – support for Pastor Fu and his

organization.

       53.      Guo promptly responded to Mayor Payton’s remarks. On October 7, 2020, Guo

held a livestream broadcast on his GTV platform (Video 9), in which he continued to press his

followers to protest outside Dr. Fu’s residence. Guo affirms to his followers, “we will thoroughly

investigate Bob Fu.” In direct response to Mayor Payton’s remarks, Guo fulminated: “The mayor

who claimed our comrades are ‘terrorists’ is a bastard. We will make him pay a price.” Guo further

referred to Mayor Payton as a “terrorist” and “corrupted.” Video 9 also levies a new allegation

against Dr. Fu, falsely claiming that he is responsible for rallying a small militia to intimidate and

harass Guo’s followers who had descended on Midland. Guo presents no evidence to substantiate

these false allegations. Guo states in full:
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               Bob Fu, we want you to stand out. We want you to show us the dark
               force behind you. One lawyer and team in Texas just called me one
               hour ago. They said they found eight rifles nearby our comrades on
               the scene of our protest. Those rifles were all brought there by
               rednecks from Bob Fu’s church. Eight rifles – I am legally
               responsible for what I said. Bob Fu, as a pastor, you get ten
               rednecks to live in our comrades’ hotel, threaten them and follow
               them. What’s worse, they brought eight rifles with them. Bob Fu,
               your time as a pastor is over. We are not afraid of CCP, how could
               we be afraid of the mayor of the tiny city Midland? Are you kidding
               me?

Contrary to Guo’s assertions, Dr. Fu has never encouraged anyone to threaten, intimidate, or

commit acts of violence. To the contrary, Dr. Fu lives and acts according to his long-held Christian

faith, which teaches principles of non-violence and love – even for one’s enemies.

Screenshot from Video 9 – Livestream Broadcast October 7, 2020:




       54.     On October 8, 2020, Guo’s media outlets began to document the ongoing protests

outside Dr. Fu’s residence on a daily basis, including live broadcasting from Midland. One

livestream service shows that at one juncture on October 8, 2020, some 245,926 people were

viewing a live video feed of protests outside of Dr. Fu’s home. In the video, Guo’s followers are

seen chanting in Mandarin and waving signs proclaiming, “Bob Fu is a CCP Spy” and other

defamatory statements.

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       55.     In addition to broadcasting live the protests at Pastor Fu’s residence, Guo’s media

outlets also broadcasted images of Pastor Fu smearing his reputation. In one instance, the screen

of a live broadcast was split between three images: i) a live feed of the Midland protests, ii) an

animated news anchor providing commentary about Pastor Fu, and iii) an image of Pastor Fu

presented as a communist devil, complete with menacing horns and long black claws. The

caption read, “Everyone deserves truth: Tell the Truth! Bob Fu.” These images were made

available to Guo’s hundreds of thousands of followers on GTV and across his various social

media accounts.




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       56.     On October 9, 2020, protests continued on the street outside Dr. Fu’s residence;

Guo’s media outlets continued to broadcast live video of the scene; Guo’s media outlets also began

conducting and broadcasting live interviews of protestors.




       57.     On October 9, 2020, an article was published on GNews.org entitled Miles Guo:

Bob Fu, the Fake Pastor Thought He Was Being Clever, But Played Right into Our Hands. The

article provides translation of comments made by Guo the previous day. Guo is quoted as

reiterating his false and defamatory accusation that “Bob Fu is a famous fake pastor who is in

reality an overseas agent for the CCP in the U.S.” Guo further falsely accuses Dr. Fu of having

bribed the Mayor of Midland and violated other laws. According to Guo, the fact Dr. Fu had

gained the support of Mayor Payton, as well as the broader Midland community, suggests “the real

probability of bribery and unlawful behaviour.” Guo also threatens legal action stating, “We shall

see this fake ‘pastor’ in court. Since we are not even afraid of the CCP, can this fake pastor Bob

Fu stop us?” Guo also levied new allegations attempting to substantiate his false claims that Dr.

Fu is a CCP spy. Guo represented that a “reliable source” had confirmed that Dr. Fu was once a

CCP military officer. Guo’s caricature smears Dr. Fu as a danger to American national security,

an evil person, and deserving of criminal prosecution:


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               A reliable source of ours confirmed that Bob Fu once belonged to
               the 12th branch of the Ministry of Security of CCP in China. Ma
               Jian, the Deputy Minister, and Director Tao of the Hainan 12th
               Branch of the Ministry of Security were all Bob Fu’s superiors back
               then in China. If the United States had one thousand hidden CCP
               assets such as Bob Fu, it would have a big problem. In the battle
               between good and evil, we will bring this fake pastor, Bob Fu to
               justice in the U.S.

Contrary to Guo’s assertions, Dr. Fu has never been affiliated with the Chinese Ministry of State

Security. Nor did Dr. Fu bribe Mayor Payton – or anyone else in the Midland community – in

order to secure their support.

       58.     On October 9, 2020, Guo’s social media accounts shared a live broadcast of an

interview with one of the protestors on the street outside Dr. Fu’s home (Video 10). The

interviewee proceeded to issue suicidal threats against Dr. Fu. Speaking in Mandarin, her words

are translated as follows:

               I come here today fully prepared that I will not return home. Why?
               Because I know how evil and brutal Bob Fu can be. I told my child
               to take good care of his father and our home. I’ll fight him to the
               end. I’ll block the bullet with my body when necessary. Bob Fu, you
               evil old man, come out! I only want an answer from you! You come
               out, I will fight you to the end.

Screenshot from Video 10 – October 9, 2020:




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       59.     On October 10, 2020, several local and state-wide organizations together with

individuals in the Midland community announced their plan to hold a “Stand for Religious

Freedom Rally,” where families and community leaders could show support for Pastor Fu. The

rally was scheduled for October 15 by local Christian groups, including the U.S. Pastor Council,

the Midland Ministerial Alliance, Watch&Pray International Ministries, and Nehemiah220

Ministries. Advertisements for the rally indicated that it welcomed participation from “pastors,

elected officials, community and business leaders, families, and all freedom loving citizens.”

Defendant Guo promptly issued a response, doubling down on his attacks against Pastor Fu. On

October 10, yet another article was posted on GNews.org, entitled Religion Rally – Another

Maneuver of a Disguised CCP Spy, “Pastor” Bob Fu? The article once again sought to tarnish

Pastor Fu’s reputation by purportedly tying him to the Chinese Communist Party and claiming

once again that he had served as an agent for the Chinese Ministry of State Security (MSS):

               According to Mr. Guo, this Rally is allegedly a move using one of
               the ‘11 crisis dealing tactics’ that Fu had learned from the Social
               Research Division of Ministry of State Security of the People’s
               Republic of China, aka the 12th division of the MSS. Mr. Guo said
               Bob Fu must be brought to justice, so the American people will find
               out who he is, where he came from, why and how he came to the
               U.S., why he has so much money, from whom the money is given to
               him, how many asylum frauds he has committed and how many
               people he has deceived and bullied. Bob Fu might be able to trick
               or buy a couple of Americans, but surely he can not deceive all.

Contrary to the article’s assertions, Dr. Fu has never worked for the Chinese Ministry of State

Security, let alone the specific “Social Research Division” of the MSS referenced in the article.

Further, the plan to hold the October 15 rally was not conceived by Dr. Fu, but to the contrary was

organized by various local associations in the Midland community. These organizations, listed

supra, simply planned to exercise their First Amendment right to assemble and express their

support for Dr. Fu’s life’s work of advancing religious freedom in China and around the world.


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         60.   On October 11, 2020, Guo’s follower Mr. Wang Wengeng arrived in Midland,

Texas to participate in the protests.

         61.   On October 12, 2020, Guo posted a video on his English-language Twitter account

(@VOG_2020) renewing his verbal attacks on Dr. Fu (Video 11). First, the caption of the video

repeated Guo’s false accusations that Dr. Fu is a CCP spy. The caption also levied a new false

allegation against Dr. Fu – suggesting that he is currently under investigation by the United States

government:

               #Miles: BobFu (ChinaAid CEO) is a fake pastor, who immigrated
               to HongKong as a (CCP) agent. From Oct 16, US government will
               investigate and find out BobFu’s true identity! #TakeDownTheCCP
               and expose CCP’s minions in the USA.

The caption is followed by a video of Guo in his usual format – wearing sunglasses and speaking

directly into the camera. Guo’s own English subtitles provide translation of his comments made

in Mandarin:

               You said your resume was included in your book. Is that true? Where
               did your money come from? How did you get to Hong Kong? Who
               gave you the Hong Kong ID, Bob Fu? Baba (means shit) Fu? I tell
               you BaBa (shit) Fu again, the National Intelligence Agency helped
               you get the HK ID. Everyone, even pigs know that when immigrating
               to Hong Kong, as long as your have no relatives there, are all
               intelligence immigrants. No one excluded, no one! … Bob Fu, tell
               me, how did you get to Hong Kong? Your HK ID was 100% certified
               by the national security agency, right? It was easy to get, right?

This message was made available to 21,000 people via Guo’s English-language Twitter account

alone.

         62.   On October 13, 2020, Guo disseminated another caricature of Dr. Fu presented as

a CCP devil.




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Screenshot from Live Broadcast Posted on Guo’s Twitter – October 13, 2020:




       63.     On October 14, 2020, Guo disseminated yet another caricature of Dr. Fu

portrayed as a CCP devil.

Screenshot from Live Broadcast Posted on Guo’s Twitter – October 14, 2020:




       64.     On October 15, 2020, Guo disseminated a caricature of Dr. Fu presented as a CCP

spy, including text reading “Bob Fu CCP Spy.” Protests continued on the sidewalk and streets

outside Dr. Fu’s home. Guo’s broadcasts continued to document the protests with these defamatory

caricatures overlayed or displayed side-by-side with the live feed of the protests.

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Screenshot from Live Broadcast Posted on Guo’s Twitter – October 15, 2020:




Dr. Fu’s Residence – October 15, 2020:




        65.   Protests continued outside Dr. Fu’s residence from October 16 through October 18,

2020.

        66.   On October 19, 2020, the protests outside Dr. Fu’s home grew larger and more

disruptive. Guo continued to broadcast the protests. Live commentators documented the scene.

On October 19, Guo disseminated another caricature of Dr. Fu presented as a CCP spy. In the

image, Dr. Fu is portrayed wielding an AK-47 machine gun alongside a communist hammer and

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sickle. The image is accompanied by the caption “Bob Fu: CCP SPY Disguised as a priest.” Pastor

Fu does not own or otherwise possess an AK-47.

Screenshot from Live Broadcast Posted on Guo’s Twitter – October 15, 2020:




       67.     On October 20, 2020, the number of protesters outside Dr. Fu’s home increased to

62 individuals. On that day or even earlier, Guo began issuing directives to his hundreds of

followers through the popular group messaging app “Discord.” Guo is the administrator of a

Discord server entitled “Voice of Guo,” where users interact by sharing text messages and images.

Any text message or image that is shared on a Discord server is made available to users who have

elected voluntarily to join that server. The “Voice of Guo” Discord server is invite-only, meaning

one can only join the server if he or she receives a unique invitation code from someone who is

already a member. Guo’s various caricatures of Dr. Fu were often shared and re-posted on the

Voice of Guo server and seen by hundreds of users. Hyperlinks to watch the live broadcast of

protests outside Dr. Fu’s residence were also frequently shared. Users often sent text messages

echoing Guo’s false accusations against Dr. Fu. Many users also indicated that they were on the

ground in Midland participating in the protests.


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Screenshot from Live Broadcast Posted on Guo’s Twitter/Discord – October 20, 2020:




       68.    On October 21, 2020, one of Guo’s followers participating in the Voice of Guo

Discord server sent a message that translates to “GO, BOMB CCP BANDIT/THIEF.” The

message was accompanied by an image of what appears to be a photograph of handheld explosives

in the palm of the user’s hand. The message was also distributed among Guo’s followers alongside

a caricature of Dr. Fu presented as a CCP clown, displayed above. The Midland Police Bomb

Squad was put on emergency standby in response to a “terroristic threat.”

       69.    On October 21, 2020, the number of protestors outside Dr. Fu’s home increased to

an estimated 80 individuals. Guo disseminated another caricature of Dr. Fu portrayed as a CCP

spy, accompanied by a caption reading “Religious Quack.” The same day, an article was posted

on GNews.org entitled An Open Letter to Mayor Patrick Payton, Senator Ted Cruz, and Senator

Marco Rubio. The article repeated the accusation that Dr. Fu is a “CCP spy” and a “secret agent”

who has “commit[ed] espionage.” The article also repeated the false accusation that Dr. Fu had

bribed Mayor Payton in order to gain his support, and falsely suggested that Dr. Fu had done the




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same with respect to Senators Cruz and Rubio, who had issued public statements condemning the

protests. In truth and in fact, Dr. Fu did not bribe anyone.

Screenshot from Live Broadcast Posted on Guo’s Twitter/Discord – October 21, 2020:




       70.     On October 22, 2020, Guo disseminated a caricature of Dr. Fu presented alongside

a CCP insignia and piles of cash. Protests continued on the sidewalk and nearby streets. Guo’s

broadcasts continued to document the protests with these defamatory caricatures overlayed or

displayed side-by-side with the live feed of the protests.

Screenshot from Live Broadcast Posted on Guo’s Twitter/Discord – October 22, 2020:




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       71.     Protests continued outside Dr. Fu’s residence on October 23, 2020.

       72.     On October 24, 2020, Guo disseminated a caricature of Dr. Fu presented as a CCP

officer, including a red CCP armband and uniform labelled “CCP Group.” Protests continued on

the sidewalk and streets immediately outside Dr. Fu’s home. Guo’s broadcasts continued to

document the protests with these defamatory caricatures overlayed or displayed side-by-side with

the live video feed of the protests.

Screenshot from Live Broadcast Posted on Guo’s Twitter/Discord – October 24, 2020:




       73.     On October 26, 2020, Guo disseminated a caricature of Dr. Fu presented as a CCP

hydra, captioned “Bob Fu: CCP Spy.” The Midland protests and daily broadcasts continued.



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Screenshot from Live Broadcast Posted on Guo’s Social Media – October 26, 2020:




       74.    On October 27, 2020, Guo disseminated a caricature of Dr. Fu presented as a CCP

clown, including now-familiar attacks, “CCP Spy Bob Fu,” “Fake Pastor,” and “Religious Quack.”

These daily images were viewed live by Guo’s tens of thousands of followers. For instance, this

particular image was seen by over 70,000 people on that day alone. Guo’s broadcasts of the

Midland protests continued with multiple news anchors stationed on the sidewalks outside Dr.

Fu’s residence. By now, the number of protestors had swelled to over 100 individuals.

Screenshot from Live Broadcast Posted on Guo’s Social Media – October 27, 2020:




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Screenshot from Live Broadcast Posted on Guo’s Social Media – October 27, 2020:




    Screenshot from Live Broadcast Posted on Guo’s Social Media – October 27, 2020:




       75.    At 8:11 PM on October 27, 2020, one of Guo’s followers on the Voice of Guo

Discord server using the pseudonym “XO Xiao” posted a message declaring, “Bob Fu participating

effort for defaming and deporting Mr Guo. Kill Bob Fu.” A follow-up message posted by another

user using the pseudonym “07” read, “Bob Fu, you are done.” Pastor Fu has taken no efforts either

to defame or to encourage the deportation of Defendant Guo.




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       76.     At 9:48 PM on October 27, 2020, one of Guo’s followers on the Voice of Guo

Discord server using the pseudonym “Xi Guo” posted a message declaring, “Bob Fu has been

collaborating with the Biden family trying to deport Mr. Guo. This explains Biden is a foreign

agent and Bob Fu is a Big Fish. Warrior Comrades in Texas have been working so hard.” Pastor

Fu has never communicated with anyone in the Biden family, nor has he ever attempted to do so.

       77.     On October 28, 2020, Guo disseminated a new caricature of Dr. Fu portrayed as a

communist devil, including captions, “Pro-democracy imposter,” “CCP SPY,” “CCP’s Party

School’s lecturer,” “Phony democracy fighter,” “Religious Quack,” and “Fake pastor.” This

particular image was seen by over 296,000 people.

Screenshot from Live Broadcast Posted on Guo’s Social Media – October 28, 2020:




       78.     Despite overwhelming condemnation of the protests by the Midland community,

U.S. officials, and various human rights NGOs, Guo continues to incite protests and encourage his

hundreds of thousands of followers to thereafter disparage and attack Dr. Fu.

       79.     As of the filing of this Complaint, the Fu family remains in exile. At the advice of

law enforcement officials, the Fu’s are unable to return to their Midland home. Pastor Fu remains

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under law enforcement protection at an undisclosed location, and his family is scattered across

four separate locations. Pastor Fu’s school-age children have not seen their father in weeks. Pastor

Fu’s mother-in-law, who resides in Midland, was hospitalized on October 30 due to stress brought

on by her well-founded fear resulting from Guo’s and his followers’ continual barrage of threats.

Pastor Fu hopes that, by this complaint, the fair administration of justice will reunite his family,

restore his good name, and redress his injuries.

                                    CLAIMS FOR RELIEF

COUNT I: STALKING – CHAPTER 85, TEXAS CIVIL PRACTICE & REMEDIES CODE.

        80.     Plaintiff re-alleges and incorporates all other paragraphs in this Complaint as if

fully restated herein.

        81.     Pastor Fu and his family are victims of organized, targeted, and repeated harassing

behavior directed specifically at Pastor Fu and his family. Defendant Fang and others, operating

under the direction and control of Defendant Guo, along with local agents of Guo, on more than

one occasion in the past five weeks have engaged in threats of serious bodily harm, death, acts of

violence, and other harassing behavior actionable under Chapter 85 of the Texas Civil Practice &

Remedies Code.

        82.     As a result of Defendants’ wrongful and threatening behavior, Dr. Fu and his family

members each fear for their respective safety and the safety of each other. Defendants’ misconduct

and egregious behavior may well lead to violence and bodily injury to Dr. Fu and/or his family,

given the events that have arisen from similar “protests” incited by Defendant Guo.

        83.     Because each Defendant had the apparent ability to carry out each of the threats,

Dr. Fu reasonably fears for his own safety and that of his wife and children.




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        84.     Pastor Fu has satisfied all conditions precedent and statutory prerequisites to bring

this cause of action. Although Pastor Fu has, through counsel, clearly demanded that each

Defendant (and other antagonizers led by Guo) cease and desist from their harassing behavior,

each Defendant has continued to engage in such behavior. Pastor Fu has reported the incidents of

Defendants’ behavior to both the Midland Police Department and the District Attorney as a

stalking offense.

        85.     As a result of Defendants’ continued misconduct, threats, assaults, and intentional

acts including their harassing behavior, Pastor Fu seeks damages, actual and exemplary, arising

from Defendants stalking him and his family.

COUNT II: DEFAMATION PER SE.

        86.     Plaintiff re-alleges and incorporates all other paragraphs in this Complaint as if

fully restated herein.

        87.     Defendant Guo caused substantial damage to Dr. Fu by irreparably harming his

reputation through statements that were negligently published, knowingly false, or made with

reckless disregard for their truth or falsity. Guo’s false and defamatory statements also caused Dr.

Fu mental anguish by the relentless assault, week after week, on Dr. Fu’s professional reputation

and integrity. Defendants’ vicious and knowingly false statements brought Pastor Fu, his entire

adult life in ministry, and his commitment to freedom into disrepute.

        88.     Defendant Guo repeatedly and systematically smeared the reputation of Dr. Fu with

defamatory statements, assigning him knowingly false labels including “fake priest,” “fake

pastor,” “religious quack,” “evil,” “pro-democracy imposter,” “phony democracy fighter” “fake

democracy activist,” “disguised CCP spy,” “CCP minion,” “human trafficker,” “money

launderer,” “cheater,” “deceiver,” “bluffer,” “piece of trash,” “bully,” “a threat to all human



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beings,” and other defamatory statements that were negligently published, knowingly false or

made with reckless disregard of the truth.

        89.     Defendant Guo directed and oversaw the broadcasting of numerous caricatures

portraying Dr. Fu as a CCP spy. These false and misleading images were intended to vilify Dr.

Fu and encourage protestors outside Dr. Fu’s home in Midland, Texas to threaten and intimidate

him and his family.

        90.     Defendant Guo repeatedly and systematically belittled Dr. Fu in the public eye,

stating “you are nothing in front of us,” and ridiculed Dr. Fu’s “pathetic connections in Texas.”

Guo repeatedly ridiculed Dr. Fu in connection with his profession as a pastor, referring to Pastor

Fu as “bastard,” “pathetic,” “despicable,” and “Bob ‘s***’ Fu.” More menacingly, Defendant Guo

claimed that Dr. Fu “deserve[s] to die,” and falsely asserted that sufficient evidence exists for Dr.

Fu “to spend the rest of his life in prison.”

        91.     Defendant Guo’s false and defamatory statements were broadcast to a wide

audience of individuals in the Chinese American community and around the globe. Utilizing his

vast audience on the internet, including platforms owned or operated by Defendant GTV Media

Group, Inc., Defendant Saraca Media Group, Inc., and Defendant Voice of Guo Media, Inc., Guo

repeatedly encouraged his hundreds of thousands of followers to disparage and malign Dr. Fu’s

reputation.

        92.     In turn, Guo’s followers have referred to Dr. Fu as a “fake priest,” “CCP spy,”

“scumbag,” “dirtbag,” and “evil,” among other labels. Defendant Guo is singularly responsible

for this sudden explosion of disparaging attacks against Dr. Fu, who until Guo’s orchestrated

defamatory and threatening assault has received nothing but praise and support from the Midland,

Chinese American, and Christian communities.          Even in the face of Guo’s malicious and



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continuing campaign of false disparagement, Dr. Fu continues to receive moral support from these

communities, as well as numerous human rights NGOs, United States Senators, Members of the

U.S. House of Representatives, and other U.S. government officials (See Addendum B).

       93.     To advance his defamatory campaign of vilification against Dr. Fu, Defendant Guo

directed the provision of financial incentives to encourage his followers to repeat and proliferate

his floodtide of false and defamatory smears. To propagate his own attacks on Dr. Fu, Guo directed

and oversaw a weeks-long campaign of public protests outside Dr. Fu’s Midland residence.

Among other acts, Defendant Guo directed and oversaw the production of flyers, signs, and articles

that were distributed electronically over the internet and physically in Midland, Texas. These

flyers, signs, and articles, containing knowingly false and defamatory statements, were intended

to discredit Dr. Fu’s ministry; destroy his reputation in the Midland community and beyond; and

encourage additional protestors to harass, threaten, and intimidate Dr. Fu and his family.

       94.     Where Defendant Guo did not intentionally mislead the public with slander, libel,

and defamatory images, Guo acted negligently and with reckless disregard for the truth or falsity

of his claims about Dr. Fu. By way of example, some of the articles published by Guo (as well as

many signs produced for public display for his followers) allege that Dr. Fu is a “CCP Spy” on

grounds that Dr. Fu was once employed at a Chinese Communist Party School. While Dr. Fu once

taught English in China at a state school, Guo intentionally omits Dr. Fu’s long personal history

as an outspoken advocate for democracy, freedom of religion, and human rights in China. Here

are the true facts: While Dr. Fu taught English in China, he also risked his life and freedom by

covertly preaching to the underground Christian Church. It was Dr. Fu’s courage practicing his

Christian faith and speaking up for the oppressed Chinese people that led – in 1996 – to his arrest

and imprisonment by CCP authorities. Then, in the decades since he was granted refugee status



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in the United States, Dr. Fu has bravely continued to speak out on behalf of the underground church

in China through his ministry. Guo’s caricatures of Dr. Fu blindly ignore this rich, well-

documented history, as well as Dr. Fu’s ongoing work to protect, preserve, and defend religious

and civil rights in China.

       95.     Tellingly, much of the evidence upon which Guo bases his false narrative is taken

directly from Pastor Fu’s autobiography, God’s Double Agent: The True Story of a Chinese

Christian’s Fight for Freedom, published by Baker Publishing Group in 2013.                 In his

autobiography, Pastor Fu addresses many (if not all) of the questions that Guo has raised with

respect to Dr. Fu’s background.      Guo’s propaganda exploits Pastor Fu’s autobiography by

selectively omitting key facts in order to paint a profoundly false narrative. As an example, many

of Guo’s hit pieces point to an image of Pastor Fu’s teacher identification card from the Beijing

Administrative College, where Pastor Fu taught from 1993-1996. According to Guo, this is

evidence that Pastor Fu is a “CCP spy.” Ironically, this image was originally published in Pastor

Fu’s own autobiography. Dr. Fu’s book explains at length how from 1993-1996, he taught English

as a day job while evangelizing and ministering at night to college students and the underground

Christian church in Beijing. This earned him the nickname that would become the title of his

autobiography, “God’s double agent.” The image taken from Pastor Fu’s book, provided below,

illustrates Guo’s knowingly deceptive omissions:




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As detailed supra, Pastor Fu and Heidi Fu were arrested by CCP authorities in 1996 for “illegal

evangelism.” They fled China due to the danger of re-arrest by China’s anti-Christian, anti-human

rights regime. The Fu’s were also expecting their second child at the time of their arrest.

Remaining in China meant the CCP’s coercive family planning policies would have resulted in the

forced abortion of their baby. Dr. Fu’s book further recounts how, after deciding to flee to the

United States, he was forced to jump from a second story window in order to evade CCP officers.

These undisputed facts are all presented in Dr. Fu’s book along with the image of his teacher

identification card. Guo intentionally omits these facts because they do not fit his false and

distorted description of Dr. Fu’s life and career.

       96.     Defendant Guo also intentionally omits Pastor Fu’s continued public activism

against the CCP’s oppressive policies, including his continual pledges of support for persecuted

communities of faith in China. As recently as September 26, 2020, Dr. Fu appeared on the National

Mall to pray for Christians in China who are suffering under CCP oppression. His September 26

address was delivered before thousands of individuals participating in the 2020 Prayer March in

Washington, D.C., and celebration of the inaugural National Day of Prayer and Return. Other

speakers on the National Mall included Franklin Graham, former Arkansas Governor Mike

Huckabee, and Vice President Mike Pence. In his address, Dr. Fu stated: “I especially pray for Xi

Jinping’s repentance and the collapse of the CCP. May God grant stamina and courage to those

who are imprisoned for the sake of righteousness in China... I pray for your imprisoned servants,

many hundreds of thousands of them, may You continue to comfort them and strengthen their

family members by making them stand firm on the gospel of Jesus Christ.” At the very moment

Pastor Fu was offering this invocation for oppressed religious minorities in China, Defendant Guo




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was organizing protests to intimidate Pastor Fu’s wife and children and paint him as a “CCP spy”

and “fake pastor.”

        97.     If anyone desires to learn about Dr. Fu’s history; his escape from the oppressive

Chinese Communist regime; or his life as a pastor and father in Midland, Texas; that information

is widely available and easily accessible. Dr. Fu’s autobiography has been widely distributed. His

credibility has been endorsed by public figures including former First Lady Laura Bush and Vice

President Pence. Pastor Fu is a well-known figure in the Midland, Chinese American, and

Christian communities across the nation. Nevertheless, Guo’s attacks distort Pastor Fu’s character

and present him as someone he is not. Guo’s glaring omissions and outrageous distortion of the

truth about Dr. Fu’s life demonstrate the willful and malicious intent behind his vicious campaign

to ruin Dr. Fu’s good name.

COUNT III: INVASION OF PRIVACY – INTRUSION UPON SECLUSION.

        98.     Plaintiff re-alleges and incorporates all other paragraphs in this Complaint as if

fully restated herein.

        99.     Invasion of privacy is a “willful tort which constitutes a legal injury.” Billings v.

Atkinson, 489 S.W.2d 858, 861 (Tex. 1973). Texas courts recognize three distinct causes of action

for invasion of privacy: (1) intrusion upon one’s seclusion or solitude or into one’s private affairs,

(2) public disclosure of embarrassing private facts, and (3) wrongful appropriation of one’s name

or likeness. Texas Comptroller of Public Accounts v. Attorney General of Texas, 244 S.W.3d 629

(Tex. 2008), citing Cain v. Hearst Corp., 878 S.W.2d 577, 578 (Tex. 1994); Industrial Found of

the South v. Texas Indus. Accident Bd., 540 S.W.2d 668, 682 (Tex. 1976).

        100.    Defendant Guo knowingly and intentionally invaded the privacy of Pastor Fu and

his family, day after day and week after week, by intruding upon his solitude and private affairs.



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Guo’s inciting of disruptive protests at the Fu residence and his issuance of credible, violent threats

caused a complete and total disruption in the Fu family’s otherwise peaceful course of life. This

intrusion was intentional in nature, as reflected by the events set forth, inter alia, in paragraphs 42-

49, 52, 54, 56, 58, 62-72, 76, and 77, supra.

        101.    The continual protests, which ultimately swelled in number to approximately 100

individuals, were carried out outside Dr. Fu’s home, the most private of spaces recognized under

the Constitution and laws of the United States. The numerous signs and shouts were deeply

disturbing to the entire Fu family, especially the children. The resulting injuries flowing from this

continued set of demonstrations in a quiet, residential Midland neighborhood included the entire

Fu family being evacuated and displaced for their personal security.

        102.    The targeted protests – day after day and week after week – prompted both local

and federal law enforcement officers to expend enormous efforts and resources to protect the

family home and surrounding neighborhood. This onslaught of individuals from around the

country, spurred into action by Defendant Guo’s stream of provocative and defamatory statements,

would be grossly offensive to any reasonable person.

COUNT IV: ASSAULT.

        103.    Plaintiff re-alleges and incorporates all other paragraphs in this Complaint as if

fully restated herein.

        104.    Defendant Guo knowingly and intentionally threatened Dr. Fu through repeated,

calculated attacks in articles, live broadcasts, and social media posts. These threats were not

isolated or incidental statements. Rather, each was purposefully disseminated across a range of

social media platforms owned or operated by Guo. These articles, broadcasts, and posts reached

an estimated audience of hundreds of thousands across the world. They also promoted and incited



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additional threats of violence against Dr. Fu, including imminent threats by protestors outside his

home.

        105.   Defendant Guo’s threats were neither vague nor distant. The threats – sent first over

the course of several weeks, then rapidly over the course of several days – are specific and direct.

Taken together and read objectively, Guo’s statements are interpreted – at best – as communicating

a ready willingness to snuff out the life of Pastor Fu. At worst, they may be construed as direct

orders for his followers to assassinate Pastor Fu and endanger his family.

        106.   First, each of Defendant Guo’s statements was made with respect to a “Kill

Cheaters Campaign” (“灭贼行动”), consisting of a list of individual targets including Pastor

Fu. On numerous occasions, Pastor Fu was named among this group of individuals whom Guo

refers to as “evil cheaters” who should be “灭” (“mie”), which may be construed as “killed,”

“eliminated,” “eradicated,” “exterminated,” or “made to perish.”

        107.   Second, on September 25, 2020, when referring to a list of individuals including

Pastor Fu, Guo stated, “How can we kill CCP if we cannot kill them first?”

        108.   Third, on September 27, 2020, after he threatened to send “one hundred to two

hundred comrades” to Pastor Fu’s house, Guo stated, “once our comrades get to your house

tomorrow, we will never retreat. We will not start another campaign until we are done with you.”

        109.   Fourth, on September 27, 2020, Guo referred to a list of individuals including

Pastor Fu and proclaimed, “they deserve to die.”

        110.   Fifth, on September 27, 2020, Guo referenced the list of individuals in his “Kill

Cheaters” campaign, in which Pastor Fu is included, and stated, “If you didn’t participate in the

global kill cheaters campaign, there’s something wrong with you. You need to take actions. None

of those cheaters should be missed. We need to see the result.”


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        111.    Sixth, on September 27, 2020 Guo further encouraged his followers to “get rid of”

Pastor Fu.

        112.    Seventh, on September 28, 2020, Guo appealed to his followers to “converge to

Midland Texas to find Bob Fu and kill him.” Guo offered payment to his followers in the form of

securities if they succeeded in this grisly mission.

        113.    Guo’s menacing statements also prompted his followers in turn to levy substantial

threats against the life of Pastor Fu.

        114.    First, Guo’s follower Mr. Wang Wengeng stated on September 27, 2020, “Bob Fu,

didn’t you f****** say you have a gun? Wait for me to kill Jianmin Wu first and you’ll be the

next [sic]” Mr. Wang also issued a violent threat against a group of four individuals including

Pastor Fu, stating “I will go [sic] your houses one after another. Get your guns ready and have your

bullets loaded. You’d better shoot me or you just wait and see.” Subsequently, Mr. Wang arrived

in Midland on October 11, 2020 to participate in the ongoing protests outside Pastor Fu’s home.

        115.    Second, an unnamed follower of Guo, interviewed outside Pastor Fu’s home on

October 10, 2020, made additional threats on Pastor Fu’s life, stating “I told my child to take good

care of his father and our home. I’ll fight him to the end. I’ll block the bullet with my body when

necessary. Bob Fu, you evil old man, come out!”

        116.    The combination of specific threats of imminent harm and the arrival of dozens of

Defendant Guo’s followers at Dr. Fu’s home created a reasonable and extreme fear of harm in Dr.

Fu and his family. As a result, local and federal law enforcement cooperatively ensured that Dr.

Fu and his family were placed in secure locations to protect them from credible threats posed by

Defendant Guo and his followers.




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        117.    Guo’s violent threats caused actual and substantial damage to Dr. Fu. As a result

of Defendant Guo’s extreme threats of bodily harm, Dr. Fu has remained under continuous law

enforcement protection at an undisclosed, secure location. Resultingly, Dr. Fu has been unable to

fully perform his duties as president of his nonprofit organization, ChinaAid, which maintains its

headquarters in Midland, Texas.

        118.    Dr. Fu also suffered severe emotional distress as a result of Guo’s death threats.

Guo’s followers first appeared at Dr. Fu’s home on September 26, 2020, when Dr. Fu’s wife and

children were alone at the home. Because he was in Washington D.C. at the time, Dr. Fu was

powerless to protect the safety of his family and his property.

        119.    The gravity – and credibility – of Defendant Guo’s threats is further evidenced by

the rapid and overwhelming response of law enforcement in working to ensure the safety of Dr.

Fu’s family and his home. As detailed above, local and federal authorities cooperatively deployed

significant assets to ensure the safety of Dr. Fu and his property, including dozens of police

officers, FBI agents, and the Midland Police Department Bomb Squad.

COUNT V: PRIVATE NUISANCE.

        120.    Plaintiff re-alleges and incorporates all other paragraphs in this Complaint as if

fully restated herein.

        121.    The Supreme Court of Texas has clarified the definition of “nuisance” in the civil

context: “Taking this opportunity to clarify the law, we hold that the term ‘nuisance’ refers not to

a defendant’s conduct or to a legal claim or cause of action but to a type of legal injury involving

interference with the use and enjoyment of real property. We further clarify that a defendant can

be liable for causing a nuisance if the defendant intentionally causes it, negligently causes it, or—

in limited circumstances—causes it by engaging in abnormally dangerous or ultra-hazardous



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activities.” Crosstex North Texas Pipeline, L.P. n/k/a Enlink North Texas Pipeline LP v. Gardiner,

505 S.W.3d 580 (Tex. 2016).

        122.    Over the course of several weeks, Defendant Guo intentionally and maliciously

orchestrated protests on the sidewalks and street immediately outside Dr. Fu’s residence. Dozens

of individuals gathered pursuant to Guo’s instructions and offers of monetary compensation. As

a result, Dr. Fu and his family have been unable to go about their lives at their family home, which

is now under the protection of local and federal agents. Dr. Fu’s family members were moved to

secure locations and, at the direction of law enforcement, were advised not to return home.

        123.    Defendant Guo’s statements and actions caused a substantial interference in Dr.

Fu’s and his family’s regular use and enjoyment of their property. The nature of the protests

organized by Guo in terms of their content, physical proximity, and timetable constitute a nuisance

to Dr. Fu’s property – and his livelihood – that Dr. Fu believes would shock the conscience of any

person of ordinary sensibilities.

COUNT VI: CIVIL CONSPIRACY.

        124.    Plaintiff re-alleges and incorporates all other paragraphs in this Complaint as if

fully restated herein.

        125.    The Texas Supreme Court has instructed: “An action for civil conspiracy has five

elements: (1) a combination of two or more persons; (2) the persons seek to accomplish an object

or course of action; (3) the persons reach a meeting of the minds on the object or course of action;

(4) one or more unlawful, overt acts are taken in pursuance of the object or course of action; and

(5) damages occur as a proximate result.” First United Pentecostal Church of Beaumont v. Parker,

514 S.W.3d 214 (Tex. 2017).




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          126.   Defendant Guo designed and orchestrated a conspiracy to commit illegal acts of

assault against Dr. Fu. These acts were executed by Guo and others with the knowing purpose of

harming Dr. Fu.

          127.   Across several forms of media including video recordings, live broadcasts, and

written documents, Defendant Guo offered or promised securities, pre-payment of travel expenses,

physical materials including signs, flyers and articles, and various other financial incentives of

monetary value for the purpose of inciting protests and violence against Dr. Fu.

          128.   Defendant Guo followed through with these promises by busing in dozens of

protestors to Midland and offering compensation for their participation in protests outside Dr. Fu’s

residence. These incentives encouraged dozens of individuals to travel to Midland, to stake out

Dr. Fu’s house, to harass his wife and children, to distribute slanderous articles, posters, and other

materials throughout the Midland community, and to engage in other overt acts intended to harm

Dr. Fu.

          129.   Defendant Guo played a central and supervisory role in orchestrating this months-

long campaign of character assassination against Dr. Fu. Guo’s actions caused actual harm to Dr.

Fu by impugning his reputation and inflicting him with emotional distress.

          130.   The combination of specific threats of imminent harm and the arrival of dozens of

Defendant Guo’s followers at Dr. Fu’s home created a reasonable and extreme fear of harm in Dr.

Fu and his family. As a result, local and federal law enforcement cooperatively ensured that Dr.

Fu and his family were placed in secure locations to protect them from credible threats posed by

Defendant Guo and his followers.




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                                       RELIEF SOUGHT

       131.    Defendant Guo Wengui caused substantial and irreversible harm to Pastor Fu, his

wife Heidi, and their young children, detailed above. To remedy the grievous wrongs caused by

Guo’s unlawful campaign of defamation and character assassination, his inciting of protests, his

disruption of the regular enjoyment of a family home, his threats of violence, and his other

dangerous provocations against the life of Pastor Fu, Pastor Fu is entitled to compensatory

damages.

       132.    Pastor Fu is also entitled to punitive damages because he sustained injuries as a

result of misconduct by Defendant Guo that was knowing, intentional, malicious, reckless, or some

combination thereof.

       133.    To serve the ends of justice, Pastor Fu also seeks a comprehensive and efficacious

set of equitable remedies, including but not limited to preliminary and permanent injunctive relief.

       134.    Dr. Fu ultimately seeks injunctive relief that permanently protects him, his family,

guests of his home, and his property from irreparable harm caused and threatened by the

Defendants. Because Pastor Fu has no adequate remedy at law, he seeks equitable relief that this

Court may grant to halt the illegal and wrongful acts repeatedly directed at Dr. Fu and at his

Midland residence.

       135.    Defendants’ organized and repeated weeks of “protests” targeting Dr. Fu at his

home and broadcasts made across numerous media platforms constitute intentional acts of

harassment, stalking, and unlawful invasion of Pastor Fu’s and his family’s right to privacy,

rendering the harm to them irreparable. Losses of privacy, security, and tranquility cannot be

rectified by monetary recovery. However, this Count can restore to Pastor Fu the peaceful




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sanctuary to which he and his family enjoyed and were entitled before Defendants arrived and

caused them reasonably to fear for their physical safety and flee their home.

       136.     On balance, Dr. Fu seeks the protection that restores his and his family’s safety and

prevents future invasions of his home privacy so that Defendants’ alleged protests no longer

overrun Dr. Fu’s rights. Dr. Fu seeks appropriate restrictions (time, place, and manner) that will

preserve all parties’ constitutional rights, in his forthcoming application for preliminary injunction,

and that will eventually lead to permanent protections.

       137.     As evidenced by the voluminous acts of Defendants’ misconduct chronicled above,

Pastor Fu has a substantial likelihood of success on the merits of his causes of action against each

Defendant, such that the injunctive relief requested is warranted.

       138.     Pastor Fu is also entitled to both a preliminary injunction, and eventually a

permanent injunction, each sufficient to protect Dr. Fu and provide he and his family the safety

and solace to which they are entitled from the outrages misconduct and dangerous acts instigated

and executed by Defendants, including credible threats of violence and bodily harm.

       WHEREFORE Pastor Fu respectfully demands:

       a)       That the Court find that Defendants engaged in repeated and continual unlawful

conduct, including that which violates the Tex. Civ. Prac. & Rem. Code § 83.001 et seq., and

provide immediate injunctive relief by granting Plaintiffs’ forthcoming application for a

preliminary injunction to prevent Defendant Guo, his media companies and platforms including

Defendant GTV Media Group, Inc., Defendant Saraca Media Group, Inc., and Defendant Voice

of Guo Media, Inc., and his individual agents including Defendant Fang and Defendant Wei, from

causing further injury or mental anguish to Pastor Fu, his family, and his property, or issuing any

additional threats or provocative statements as to the same;



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       b)       That judgment be entered against Defendants Guo et al. for substantial

compensatory damages in an amount shown by the evidence to be reasonable and just to

compensate Pastor Fu for the harms they have caused Pastor Fu;

       c)       That judgment be entered against Defendants Guo et al. for punitive damages in an

amount shown by the evidence to be reasonable and just to punish the Defendants for the harms

they have caused Pastor Fu, and to deter the Defendants from further participating in these

unlawful actions against Pastor Fu;

       d)       That the court grant Pastor Fu reasonable attorney’s fees and costs he has incurred

and will incur in prosecution of his claims against Defendants Guo et al.;

       e)       That the Court grant not only the relief requested above, but all such other and

further relief to which Pastor Fu is entitled, whether by law or equity.

Respectfully submitted this 12th day of November, 2020.

By:

[Signature Blocks on Next Page]




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          ADDENDUM A
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[English Translation Below]

新闻发布稿



   由班农和郭文貴组织的黑幫團夥對

                    不同異見者進行攻击

致以下人士的公开信：



白宫，川普总统；

参议院外交关系委员会主席， 吉米·里施 (Jim Risch)先生；

参议院外交关系委员会最高级委员， 鲍勃·梅内德斯 （Bob Menedez）先生；

参议院司法委员会主席；林赛·格雷厄姆（Linsey Graham）先生；

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总检察长，威廉·巴爾（William Barr）先生

2020年9月23日


   我们大多数人是因爲要逃脱中國共产党的打壓而从中国移民到西方民主国家
的美国公民。在过去的几周里，我们受到了由班农（Steve Bannon）和他的同伙
组织的暴徒的欺凌和骚扰，班农的同伙名叫Miles Guo（又名Miles Kwok、郭文贵
、郭浩云、吴楠、郭浩文等），据悉他是中国秘密警察的特工。郭文贵于2017年
在美国以虚假的理由申请政治庇护。

   郭在2018年和白宫前策略师班農建立合作关系，但實際合作是从2017年10
月开始的。郭向班农支付了至少100万美元。此后，他们通过社交媒体在全球组织
了一批可疑的追随者，攻击真正的民运人士。

   在疫情期间，班农和郭文貴散布谣言和假话，宣称SARS-CoV-2冠状病毒是
一种合成或人造的生物武器。他们通过合作伙伴凯尔·巴斯告诉听众，中国和香港
的货币很快就会崩溃。他们要求全世界反对中共的华人 "投资 "他们所谓的 "慈善“
机构和商业 "计划"。成千上万的人相信他们反对中共的理想，向他们的骗局投资
了数百万元以上。班农和郭甚至成立了 "新中国联邦"，假稱它将成为中共垮台后
中国的合法政府。

   许多受害者很快意识到自己被骗了。他们向美国司法部、监管投资行为的证
券交易委员会以及联邦调查局举报了他们的罪行。这些政府机构都在调查班农与郭
的罪行。

   当受害者们彼此团结起来揭露他们时，郭就开始发送视频信息骚扰这些生活
在世界各地的受害者。班農得到郭的支持。今年8月，班农因另一项慈善項目涉嫌
犯罪被捕。

   班农和郭都善于肮脏的手段。在以摧残人为目的的政治手段上，班农宣称自
己是 "列宁主义者"。郭是个臭名昭著的人，他通过恐吓和滥诉来骚扰他人，摧毁


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他人的正常生活。这和他在中国积极为中共卖命时的所作所为如出一辙，当时他为
国安秘密警察工作。郭恐吓在美国、加拿大、澳大利亚、新西兰和其他自由民主国
家生活的受害者和许多其他反对者。他公布了几十个名字，其中许多是联邦調查机
构的证人，郭向其的团伙提供了受害者的个人信息、照片，包括他们的家庭住址和
电话号码。

  在他向美国申请政治庇护的前几天，他签署了一封承诺效忠中共领导人习近
平的信，并录制了一段视频，承诺在美国期间为习近平工作。同时，他对在美国公
开反对习近平的美籍华人提起恶意诉讼，同时把自己塑造成中共的最大对手。过去
两周，班农-郭的团伙成员出现在纽约、洛杉矶、夏威夷、华盛顿特区和温哥华等
华人移民社区众多的城市。这些暴徒出现在目标人物的私人住处，举着侮辱性的标
语，喊着暴力的语言。他们甚至对洛杉矶的一位老年绅士和纽约的一位中年男子进
行人身攻击和伤害，造成了严重的身体伤害。加州和纽约警方已对袭击者提出指控
。

  我们强烈要求相关机构保护所有美国华裔移民以及其他地區受到班农和郭威
胁和金融欺诈的受害者。




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Press release

     Steve Bannon and Miles Kwok
 Organized Mafia Attack Against Critics
An Open Letter to
President Donald Trump, The White House

Mr. Jim Risch, Chairman, Senate Foreign Relations Committee

Mr. Bob Menedez, Ranking Member, Senate Foreign Relations Committee

Mr. Mr. Linsey Graham, Chairman, Senate Judiciary Committee

Ms. Dianne Feinstein, Ranking Member, Senate Judiciary Committee

Mr. Eliot Engel, Chairman, House Foreign Affairs Committee

Mr. Michael McCaul, Ranking Member, House Foreign Affairs Committee

Mr. Jerrold Nadler, Chairman, House Judiciary Committee Ms. Mary Gay Scanlon,
Ranking Member, House Judiciary Committee

Mr. Jim McGovern, Chairman, Congressional-Executive Commission on China

Mr. Marco Rubio, Co-Chairman, Congressional-Executive Commission on China

Mr. William Barr, Attorney General

September 23, 2020

   We are mostly U.S. citizens who immigrated from the People’s Republic of China to
the Western democracies to escape Communist Party repression. In the past few weeks,
we have been bullied and harassed by mobs organized by Steve Bannon and his
partner, who goes by Miles Guo (also Miles Kwok, Guo Wengui, Haoyun Guo, Wu Nan,
Ho-wen Kwok, and other names), who is known to be an agent of China’s secret police.
Guo has applied for political asylum in the United States in 2017 under false pretenses.

    Guo paid Bannon, a former White House strategist, at least one million dollars after
creating a partnership in 2018, but which began in October 2017. Since then, they have

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organized a dubious following around the world via social media to target the true pro-
democracy activists.

   During the pandemic, Bannon and Guo spread rumors and falsehoods that the SARS-
CoV-2 human coronavirus was a synthetic or man-made biological weapon. They told
their audiences that the Chinese and Hong Kong currencies would soon collapse
through their partner Kyle Bass. They asked Chinese people around the world who
oppose the Chinese Communist Party (CCP) to “invest” in their so-called “charities” and
business “schemes”. Thousands of people, believing in the anti-CCP cause, sent in
millions to their fraudulent investment. Bannon and Guo even established “the New
Federal State of China,” pretending that it would be the legitimate government of China
after the CCP collapses.

Many victims soon realized that they had been defrauded. They reported the alleged
crimes to the United States Department of Justice, the Securities and Exchange
Commission, which regulates investments, and the FBI. All these government entities are
investigating the Bannon-Guo crimes.

   Once the victims discovered one another and united their knowledge and efforts,
Guo began to send video messages to harass them wherever they lived around the
world. Bannon is backed by Guo. Bannon was arrested in August for another charity-
oriented crime.

    Both Bannon and Guo are known for their dirty tricks. Bannon has proclaimed himself
a “Leninist”, in terms of political tactics to destroy people. Guo is notorious for harassing
people and destroying their livelihoods through intimidation and multiple abusive
litigation. As he did in China for the CCP when he was actively working for the MSS
secret police, Guo terrorized his victims and many other personal rivals in America,
Canada, Australia, New Zealand, and other free democracies. He announced dozens of
names – many of them witnesses for the federal agencies – and provided his gangs with
the victims’ personal information, photos including their home addresses and telephone
numbers.

    Days before he applied for political asylum in America, he signed a letter pledging
loyalty to CCP leader Xi Jinping and made a video pledging to work for Xi while in the
United States. At the same time, he filed devasting litigation against Chinese Americans
in the US who openly opposed Xi Jinping, while casting himself as a leading opponent
of the CCP. In the past two weeks, the Bannon-Guo contingent has shown up in cities,
including New York, Los Angeles, Hawaii, Washington DC, and Vancouver, with large
Chinese immigrant communities. The mobs show up at their targets’ private residences,
holding abusive signs and screaming violent language. They even physically attacked
and harmed an elderly gentleman in Los Angeles, and a middle-aged man in New York,

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causing severe physical harm. Charges have been made against the assailants by the
California and New York police.

  We urge authorities to protect all Chinese American immigrants and others who have
been victims of threats from and financial fraud by Bannon and Guo.



Signed:

US Citizens and residents

Xianmin Xiong, New York

Jun Chen, New York

Shan Lin, San Francisco

Weidong Li, New York

Qi Lu, Detroit

Qingmin Jin, Los Angeles

Eric Zhang, Chicago

Sasha Gong, Virginia

Jiamei Lu, Hawaii

Yeliang Xia, Virginia

Ashley Wu, Chicago

Rong Shen, Illinois

Berg Lee, Las Vegas

He Lee, Las Vegas

Hongli, Zhao, Arkansas

Ming Zhang, Dallas

Tiffanie Zhang, USA

Yan Zhu, New York

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Tan Li, New York

Wendy Liu, Tempe, AZ

Shuxian Haw, USA

Shipping Kong, USA

May Zhang, USA

Joshua, Seattle, Washington

Vicky Chen, MA

Gingger Shi, Chino Hills, CA

Guangfa Xu, Miami, FL

Yu Guan, SC

Xiuming Lin, Greenville, SC

Shen Duo, Washington DC

Hui Johnson, Hawaii

Bianca Shu Frank, Los Angeles

Gang Li, USA

April Ma, Sacramento, CA

Mengmeng Zhou, Sacramento, CA

Eva Wang, NJ

Dingding Guo, USA

Mike W, Las Vegas, NV

Guochen Luo, Boston, MA

Canadian Citizens and residents

Bingchen Gao, Vancouver

Maggis Zhang, Vancouver

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Ningyu Huang, Vancouver

Alice Zheng, Vancouver

Jinnao Yang, Montreal

Mingjun Chen, Toronto

Shuangling Bao, Canada

Mike Wang, Vancouver

Shuangling Bao, Canada

Shiyu Fan, Toronto

Duan Zhao, Canada

Victor Powe, Canada

Grace Tian, Canada

From other countries:

Shaomin Li, Chile

Zili Rong, France

Hongbing Yuan, Australia

Wanli Zhu, New Zealand

Sayaka Miyazawa, Japan

Shizuka Yamashita, Japan

Yuan Gao, Xi’an, China

Ya Dan, Japan

Rui Wang, Australia

Wai Ming Poon, Hong Kong

Souga Kousin, Japan

Alan Chan, Hong Kong

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Jenny Gong, Sweden

Carol Lu, Australia

Andy Wan, Australia

Hong Liang, UK

Qi Liu, Melbourne, Australia

Shang Ye Liang, Taiwan

Catherine Li, UK

Wei Cao, Netherlands

Sonia Kong, New Zealand

Mao Qiuhua, Greece

Yi Liu, Germany

Hui Han, Austria

Tony Yang, Australia

Hugh Hung, Australia

Mikio Kobayashi, Japan

Tokiwa Sei, Japan

Timmi Man, Germany

Susan Su, Japan

Rebot Wang Chino, Japan

Chang Jin, Sidney Australia

Takagi Nana, Japan




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          ADDENDUM B
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September 29, 2020: The Lantos Foundation for Human Rights &
Justice issued a statement expressing support for Pastor Fu.
          Lantos Foundation Statement in response to
          reports of violent threats against Pastor Bob
          Fu:
          The Lantos Foundation has been proud to work
          with Pastor Bob Fu on a wide range of human
          rights   causes   from   internet freedom   to
          religious freedom. Pastor Fu has always been
          fearless in defending the fundamental rights
          of all people, which is why he has become a
          leading global voice for persecuted faith
          communities around the world. In 2019, Bob was
          honored with the prestigious NED (National
          Endowment for Democracy) Democracy Award for
          his work on behalf of religious freedom and
          rule of law in China. The organization he
          founded,   ChinaAid,   has   been  a   literal
          lifesaver providing rescue and resettlement to
          individuals fleeing persecution, as well as
          vital training and resources for human rights
          defenders.
          The Lantos Foundation is deeply concerned by
          reports that violent threats have been made
          via the internet against Bob Fu and his
          family. This is intolerable. We call upon all
          appropriate agencies of our state and federal
          governments to take immediate steps to ensure
          the safety of Bob Fu and his family. When human
          rights defenders are threatened and harassed,
          we have a duty to step up to their defense.
September 30, 2020: An article by Faith McDonnell was published on
the blog of The Institute on Religion and Democracy expressing
support of Pastor Fu.
          Moments before Dr. Fu went to the podium at
          The Return to pray on behalf of the Christians
          in China and the nations, he received shocking
          news. Chinese Communist thugs were surrounding
          his home in Texas, harassing his wife and
          children. He asked the tens of thousands in
          attendance at The Return to pray for his

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          family. And he asked God to transform China
          into a “mission-sending” nation and to bring
          Communist leaders to repentance.
          Please pray for Bob Fu and his family. Pray
          also for all the other Chinese heroes
          slandered and threatened by Guo and the CCP.
October 5, 2020: Midland Mayor Patrick Payton gave remarks at a
press conference in support of Pastor Fu.
          Bob Fu’s importance to this community began…in
          2004 or five because of his relationship with
          Midlanders that asked him to come here and let
          this be a hub for what he does. The most
          important part about Bob Fu’s relationship is
          what he’s done to gather people for the
          freedom of those who’ve been persecuted. Far
          beyond just brothers and sisters in Christ, as
          he had advocated for Muslims, he has advocated
          for all religions, and he advocated for
          secular artists who are getting censored for
          their work in China as well.
          In regards to why Dr. Fu is being targeted,
          the city does not know why someone…is saying
          he’s a member of the communist party when,
          quite frankly, all he’s done is been wanted by
          the Communist Party.
October 6, 2020: The Institute on Religion and Democracy issued a
joint statement expressing support for Pastor Fu. i
          We stand in support of Bob Fu and decry the
          accusations and calls for violence made
          against him by Guo Wengui. And we call upon
          all appropriate agencies of our state and
          federal governments to take immediate steps,
          including prosecutorial steps, to ensure the
          safety of Bob Fu, his family and the other
          Chinese freedom fighters in the United States.
October 6, 2020: NewsWest 9 (KWES) published an article featuring
an interview of one of Pastor Fu’s neighbors, Jenny Cud.
          He has an amazing record; he has spoken out
          against communist China for decades and


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          decades and helped persecuted Christians in
          China trying to get them out.
October 7, 2020: United States Senator Marco Rubio (R-FL) issued
a statement expressing support for Dr. Fu.




October 7, 2020: NewsWest 9 (KWES) news station published an
article featuring an interview of one of Pastor Fu’s coworkers,
Matt Montgomery.
          He’s the most kind-hearted, generous man I’ve
          ever met. He’s helped numerous people escape
          the persecution in China, and to be targeted
          in this fashion by his own community in the
          United States is shameful. …Unfortunately,
          this   is   a    smear   campaign   spreading
          misinformation.
October 8, 2020: United States Congressman Mike Conaway (R-TX)
issued a statement expressing support for Pastor Fu.
          Dr. Fu is a respected and valued member of our
          community, a Christian, and a personal friend.
          …He has dedicated his life to exposing human

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          rights violations and advocating on behalf of
          other Christians in China…
October 8, 2020: Christian Solidarity Worldwide in the United
Kingdom issued a video statement via Twitter expressing support
for Pastor Fu.
October 9, 2020: United States Senator Ted Cruz (R-TX) issued a
statement expressing support for Pastor Fu.




October 9, 2020: United States Congressman Chris Smith (R-NJ)
issued a statement expressing support for Pastor Fu.
          He is an extraordinary man of deep faith in
          God   who  has   tenaciously   advocated   for
          universally recognized human rights in China
          including and especially religious freedom. I
          unequivocally attest to Pastor Fu’s impeccable

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          character, integrity, kindness, and bravery.
          Bob Fu is one of the most prayerful,
          dedicated, disciplined, wise and effective
          champions for human rights that I have ever
          met.
October 9, 2020: The Church in Chains, an Irish charity group,
reissued the Christian Solidarity Worldwide – United Kingdom video
statement via Twitter, and asked for prayers for Pastor Fu.




October 11, 2020: The Midland Reporter-Telegram published an
article featuring an interview of a pastor at Dr. Fu’s church,
Daniel Stephens.
          Pastor Bob Fu has been an integral and vibrant
          part of our community for almost two decades.
          We have prayed, worshipped, fought, cried, and
          celebrated    together.  Bob’s   humility  and
          sincere    faith    are  unequal    among  his
          contemporaries. His love for God, God’s Word,


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          and God’s creation is evident in his tireless
          pursuit of justice for all.
October 11, 2020: The Houston Chronicle published an opinion
article by Randall Everett, former pastor of First Baptist Church,
Midland, Texas, in support of Pastor Fu.
          It would have been easy for Bob and [his wife]
          Heidi to enjoy the freedoms of life in the US
          and never look back. Yet their love of Christ
          and for their homeland motivated Bob to become
          one of the leading voices in America for
          religious freedoms in China. I have heard
          prominent Americans speak of Bob’s integrity,
          courage and humility. [Bob has been called] a
          history-shaper for generations to come. Bob
          stands strong, honest, courageous and humble.
October 14, 2020: United States Senator John Cornyn (R-TX) issued
a statement expressing support for Pastor Fu.
          He is a hero: Bob Fu remains a powerful leader
          when it comes to International Religious
          Freedom.
October 15, 2020: NewsWest 9 (KWES) news station interviewed
Michael J. Horowitz, Director of the Project for International
Religious Liberty at the Hudson Institute.
          Every dictator knows that if there is
          religious freedom, the dictatorship won’t
          survive.
          Bob Fu is the great threat to the dictatorship
          of China. I think they fear what Bob Fu is
          doing in protecting house church Christians,
          and in protecting Falun Gong practitioners,
          and in protecting freedom of religion in
          China, every good as much as they do the
          American military.
          This made Bob Fu even more prominent. It’s
          brought members of Congress; it’s brought
          members of the Administration; it’s brought
          evangelical pastors around the country; it’s
          brought Chinese leaders around the world; to
          Bob’s defense. And it’s made Bob and it’s made


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          Bob’s mission stronger than it was. If this is
          a Chinese plot, all I can say is it has failed
          terribly. Thank God that it has. [sic] Bob is
          coming out of this stronger than ever.
October 22, 2020: World Magazine published an article by Mindy
Belz raising awareness for Pastor Fu’s situation:
          Spreading falsehoods to eliminate opponents is
          a strategy that’s alive and well around the
          globe. Ask Bob Fu. Over the past month, the
          underground church leader, who escaped China
          in the mid-1990s, has become the target of a
          disinformation campaign launched by a Chinese
          billionaire named Guo Wengui.
October 23, 2020: Lord David Alton, Member of the House of Lords
of the United Kingdom, issued a statement on his Twitter account
and website, also sharing an article from World Magazine.




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October 29, 2020: Mike Abramowitz, President of Freedom House and
former national editor of the Washington Post, issued a statement
expressing support for Pastor Fu.




October 30, 2020: Sam Brownback, U.S. Ambassador at Large for
International Religious Freedom, issued a statement expressing
support for Pastor Fu.




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i The Institute on Religion and Democracy’s joint statement is
joined by the following organizations and individuals: Advocates
International, Alexandria, Virginia; Anglican Persecuted Church
Network, Washington, DC; Boat People SOS – Religious Freedom
Project, Falls Church, Virginia; CENSUR, the Center for Studies
on New Religions, Torino, Italy; Christian Freedom
International, Falls Church, Virginia; Christ’s Mandate for
Missions, Mill, South Carolina; Committee for Religious Freedom
in Vietnam, Bethesda, Maryland; Coordination des Associations et
des Particuliers pour la Liberté de Conscience, Paris, France;
Family Research Council, Washington, DC; GAFCON Suffering Church
Network; Jubilee Campaign USA, Fairfax, Virginia; International
Observatory of Religious Liberty of Refugees, Torino, Italy; Law
and Liberty International, Reston, Virginia; Minh Van
Foundation, Dallas, Texas; Mission Africa International,
Greenville, Texas; Observatory for Religious Freedom, Spain;
Religious Freedom Institute, Washington, DC; Revealing Light
Ministries, Revealing Light Trauma Healing Centres & RISEN
Together, Rockville, Maryland; Save the Persecuted Christians,
Monument, Colorado; St. Charles Institute, St. Charles,
Illinois; 21Wilbeforce, Falls Church, Virginia; Dr. Oluwasayo
Ajiboye, Greenville, Texas; Mark E. Alexander, Plains, Texas;
Carole Bergman; D. Beret, Tampa, Florida; Kim Bongiorno, Moral
Action Ministry, Arizona; Rosanne Brown; William Brown,
Christian Activist Network of New England; Zhang Cao; Rich
Clark; Allison Coates, Raleigh, North Carolina; Jim Dau,
IranAlive Ministries; Peggy Dau, IranAlive Ministries; Paul
Diamond, Barrister, Cambridge, United Kingdom; Marco Fang; Yong
Fang; Ellen Forde; Zeno Gamble, COO, White Mountain Research
Inc., Moran, West Virginia; Maria Garcia, Observatory for
Religious Freedom, Spain; William C. Goble, Odessa, Texas; Mark
Gonzales, President – Hispanic Action Network, Dallas, Texas;
Bishop designate Joseph K. Grieboski, Senior Fellow – The
Dietrich Bonhoeffer Institute, Washington, DC; Baosheng Guo,
Gainesville, Virginia; Li Hamilton; Linda Harvey, President –
Mission American, Columbus, Ohio; Dr. S. Byran Hickok, Board
Chair – The Jesus Alliance, Baton Rouge, Louisiana; Sharon Ho;
Fang Hong; Hansheng Huang; Weida Huang; Hugh Hong, Melbourne,
Australia; Jonathon Imbody, Director – Freedom2Care, Washington,
DC; Chang Jin; Hui Johnson; Lois Kanolos, Founder – Voice or the
Persecuted, Detroit, Michigan; Shao Ke; Dede Laugesen, Executive
Director – Save the Persecuted Christians, Monument, Colorado;
Hamilton Li; Aijie Li, Hayward, California; Linan Li; Xiaoxu
Sean Lin; Shan Lin; The Rev. Jonathon Liu; Vincent Liu; Qi Lu,
Detroit, Michigan; Paul Marshall, Wilson Professor of Religious
Freedom, Baylor University; Faith J. H. McDonnell, Director –

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International Religious Liberty Program, Institute on Religion
and Democracy, Washington, DC; Greg Mitchell, Chair –
International Religious Freedom Roundtable; Scott Morgan,
President – Red Eagle Enterprises, Washington, DC; Allen Morris,
Executive Director – Concerned Methodists, Fayetteville, North
Carolina; Laura B. D. Mullins, Fairfax, Virginia; Satoshi “Sam”
Nishihata; George Parker, Executive Director – Revealing Light
Ministries, Rockville, Maryland; Jorge Parrott Ph. D., President
and Dean – CMM College of Theology, Mill, South Carolina; Pasha;
Susan Pausky; Patrice J. Pederson, President – First Freedom
Foundation; Matias Perttula, Advocacy Director – International
Christian Concern; Macy Qui; Star River; Bianca Russell; Ann
Schockett, President – The National Federation of Republican
Woman, Board Member – Save the Persecuted Christians; Suzanne
Scholte, Seoul Peace Prize Laureate, President – Defense Forum
Foundation, Chair – North Korea Freedom Coalition; Mark Singer,
Moral Action Ministry, Arizona; Dale D. Stasney, Midland, Texas;
Elizabeth A. Taylor, DO; Rev. Susan Taylor, National Public
Affairs Director – Church of Scientology National Affairs
Office; Dr. Nguyen Dinh Thang, Laureate of 2011 Asia Democracy
and Human Rights Award; Mark Tooley, President – Institute on
Religion and Democracy; Peter Tsai; Thierry Valle, President –
Coordination des Associations et des Particuliers pour la
Liberté de Conscience, Paris; Dr. J. Michael Waller, Center for
Security Policy, Washington, DC; Frank Wolf, Member of the
United States Congress (1981-2014); Elmer Yuen; Yan Zhang; Autum
Zheng; Xiao Kang Zheng; and Wanli Zhu.




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